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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 23-cr-327 (RC)
               v.                             :
                                              :
TODD BRANDEN CASEY,                           :
                                              :
                       Defendant.             :


                 GOVERNMENT’S OPPOSITION TO DEFENDANT’S
              MOTION TO ALLOW POTENTIAL ENTRAPMENT DEFENSE


       Defendant Todd Branden Casey, who is charged in connection with events at the U.S.

Capitol on January 6, 2021, has moved to allow him to present an entrapment defense at trial.

Casey fails to establish that (1) a government agent actively misled him about the state of the law

defining the offense; (2) the government agent was responsible for interpreting, administering, or

enforcing the law defining the offense; (3) the defendant actually relied on the agent’s misleading

pronouncement in committing the offense; and (4) the defendant’s reliance was reasonable in light

of the identity of the agent, the point of law misrepresented, and the substance of the

misrepresentation. United States v. Chrestman, 525 F. Supp. 3d 14, 31 (D.D.C. 2021) (Howell,

C.J.)(quoting United States v. Cox, 906 F.3d 1170, 1191 (10th Cir. 2018). This Court should deny

his motion.

       In Chrestman, Chief Judge Howell rejected an entrapment by estoppel argument raised by

a January 6 defendant charged, like Casey here, with inter alia, violations of 18 U.S.C. § 231(a)(3).

That reasoning would apply fully to a similar defense presented by Casey:

       January 6 defendants asserting the entrapment by estoppel defense could not argue that
       they were at all uncertain as to whether their conduct ran afoul of the criminal law, given
       the obvious police barricades, police lines, and police orders restricting entry at the Capitol.




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       Rather, they would contend … that the former President gave them permission and
       privilege to the assembled mob on January 6 to violate the law.

                                                    ****
       Setting aside the question of whether such a belief was reasonable or rational, [precedent]
       unambiguously forecloses the availability of the defense in cases where a government
       actor’s statements constitute “a waiver of law” beyond his or her lawful authority…. Just
       as … no Chief of Police could sanction murder or robbery, notwithstanding this position
       of authority, no President may unilaterally abrogate criminal laws duly enacted by
       Congress as they apply to a subgroup of his most vehement supporters. Accepting that
       premise, even for the limited purpose of immunizing defendant and others similarly
       situated from criminal liability, would require this Court to accept that the President may
       prospectively shield whomever he pleases from prosecution simply by advising them that
       their conduct is lawful, in dereliction of his constitutional obligation to “take Care that the
       Laws be faithfully executed.” U.S. Const. art. II, § 3. That proposition is beyond the
       constitutional pale, and thus beyond the lawful powers of the President. Even more
       troubling than the implication that the President can waive statutory law is the suggestion
       that the President can sanction conduct that strikes at the very heart of the Constitution and
       thus immunize from criminal liability those who seek to destabilize or even topple the
       constitutional order. In addition to his obligation to faithfully execute the laws of the United
       States, including the Constitution, the President takes an oath to “preserve, protect and
       defend the Constitution.” U.S. Const. art. II, § 1, cl. 8.

Chrestman, 525 F. Supp. 3d 14, 32-33 (some internal punctuation omitted).

       Nor can there be any reasonable claim that President Trump intended to or actually

authorized the defendant’s particular criminal conduct. Casey taunted Metropolitan Police

Department Officers, and aggressively hit and kicked metal barricades in order to knock them

down. Casey then shoved Sergeant G.N. around the chest area, and assaulted MPD Officer B.R.

He reached for, and grabbed Officer B.R. by the shoulder of Officer B.R.’s jacket, then shoved

Officer B.R. toward the U.S. Capitol Building, until a Capitol Police officer pulled Officer B.R.

away from Casey.

       Casey then moved to the vicinity of an archway that connected the inaugural stage to a

corridor that provided access to the interior of the U.S. Capitol Building, commonly known as “the

Tunnel.” Police officers formed a line inside of the Tunnel and tried to keep rioters from advancing

further into the U.S. Capitol Building. Casey aggressively pushed through other rioters inside the



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entryway of the Tunnel to reach the front of the police line. Casey then entered and exited the

Tunnel a few times, and in the time that Casey was in the Tunnel, Casey joined the crowd in

pushing against police by pushing up against other rioters who were pushing against police.

       Casey is unable to identify any remarks made by former President Trump that authorized

that illegal conduct. The government requests the Court to inquire before trial if the defendant

intends to either advance a defense of entrapment by estoppel or present any argument or evidence,

the purpose of which would be to support such a defense. If the answer is anything but an

unqualified “no,” the Court should direct the defendant to make an offer of proof of such evidence

and articulate why the defense is legally tenable notwithstanding then-Chief Judge Howell’s

explanation that it could not be. Absent an express ruling by the Court permitting such evidence

or argument, the Court should prohibit the defendant from making arguments or attempting to

introduce evidence that former President Trump authorize the defendant’s conduct at the Capitol.

                                        CONCLUSION

       For the foregoing reasons, the defendant’s motion to transfer venue should be denied.

                                             Respectfully submitted,

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